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                            EXHIBIT C
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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF NEW JERSEY


    In re:                                                          Hon. Vincent F. Papalia
                                                                    Chapter 11
                                                 1
    BED BATH & BEYOND, INC., et al.,                                Case No. 23-13359 (VFP)
                            Debtors.                                (Jointly Administered)


     ORDER APPROVING FIRST AND FINAL APPLICATION OF GIBBONS P.C. FOR
          COMPENSATION OF PROFESSIONAL SERVICES RENDERED AND
       REIMBURSEMENT OF EXPENSES FOR THE PERIOD FROM MAY 23, 2023
                      THROUGH SEPTEMBER 29, 2023


             The relief set forth on the following page, numbered (2), is hereby ORDERED.




1
  The last four digits of Debtor Bed Bath & Beyond, Inc.’s tax identification number are 0488. A complete list of the
Debtors in the Chapter 11 Cases and each such Debtor’s tax identification number may be obtained on the website of
the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of Debtor Bed Bath &
Beyond, Inc.’s principal place of business and the Debtors’ service address in the Chapter 11 Cases is 650 Liberty
Avenue, Union, New Jersey 07083.
Case 23-13359-VFP               Doc 2686-3 Filed 11/13/23 Entered 11/13/23 18:25:36                              Desc
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Page 2 of 2
Debtors: Bed Bath & Beyond, Inc., et al.
Case No.: 23-13359 (VFP)
Caption: Order Approving First and Final Application of Gibbons P.C. for Compensation of
            Professional Services Rendered and Reimbursement of Expenses for the Period from
            May 23, 2023 through September 29, 2023


           Upon the First and Final Application of Gibbons P.C. for Compensation of Professional

Services Rendered and Reimbursement of Expenses for the Period from May 23, 2023 through

September 29, 2023 (the “Application”);2 and it appearing to the Court that all of the requirements

of section 330 of the Bankruptcy Code, Bankruptcy Rule 2016, and Local Rule 2016-1 have been

satisfied; and it further appearing that the fees for services rendered and expenses incurred by

Gibbons were reasonable and necessary; and adequate and appropriate notice of the Application

having been provided; and the Court having reviewed the Application; and after due deliberation

and sufficient cause appearing therefore, it is hereby

           ORDERED THAT:

           1.       The Application is APPROVED as set forth herein.

           2.       Gibbons is granted final allowance of compensation in the total amount of

$179,833.50 and reimbursement of expenses incurred in the total amount of $198.00.

           3.       The Debtors are authorized and directed to remit, or cause to be remitted, payment

in the total amount of $180,031.50 to Gibbons.

           4.       The Court shall retain jurisdiction over any and all matters arising from or related

to the interpretation or implementation of this Order.




2
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Application.



                                                            2
